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                                               TOP GOLF CO.,LTD
                                              PROFORMA INVOICE


                                                                                       No.: TOP05/30/2022
                                                                                       Date: MAY,30th,2022
THE BUYER                          TROJAN-EV LLC
                                   ADD: 16518 House H ahl RD, Cypress Texas 77433



                                   TOP GOLF CO.,LTD
                                   ADD:11/F,Front block, Hang Lok Building, 130 Wing Lok St, Sheung Wan, HK
  THE SELLER




                                                                                   Unit
            Model                   Mold Cost for Making Trojan-Ev XS
                                                                               price (USD)

  Front Grill with logo                                                           15,000


Brush Guard with logo                                                             15,000


  Side Panel with logo                                                             8,000


 Clay Basket with logo                                                            10,000


  Seat Mold with logo                                                             13,000


       Key with logo                                                               3,000


 Front Cowl model with                                                           150,000
      hidden logo

  Back Cowl mold with                                                            250,000
      hidden logo

     Front Grill mold                                                             25,000


 Front Lights mold with                                                           55,000
          logo

  Backlights mold with                                                            55,000
          logo
                                                Add logo sticker
 Steering W heel mold                                                             22,000


          Seat mold                                                               28,000


Chassis mold with logo                                                            35,000


      Roof Top mold                                                              100,000


     Dashboard mold                                                               58,000


 Digital Display design                                                          150,000
        with logo

 Brake System design                                                              30,000


 Flip D own back seat                                                             45,000
       with logo
                                                Add logo sticker
      Storage /cooler                                                             38,000

                                                Add logo sticker
             Motor                                                                55,000

                                                Add logo sticker
          Controller                                                              65,000


   Dot windshield with                                                            38,000
          logo

             Wiper                                                                48,000


         RGB mirror                                                               50,000


   Controller App with                                                            50,000
          logo

 Flip Flop seat design                                                            60,000


     Wheels with logo                                                             55,000

        TOTAL VALUE                                                              1,526,000


                                                                                                              Trojan EV & GCC
(1). Payment terms:10% TT as deposit, and balanc e as molds are completed




                                                                                                              DTX-26A
(2) Delivery times: 6-8 month to make molds


(3). Account details :
Beneficiary bank name: HSBC
Bank account No. 801 200270 838
Beneficiary bank address: 1 Queen’s Road Central, Hong Kong
Swift code : HSBCHKHHHKH                                                                                       No 4:21-cv-03075
Beneficiary company: TOP GOLF CO.,LIMITED
ADD:11/F,Front block, Hang Lok Building, 130 Wing Lok St, Sheung Wan, HK



                                                                        CONFIDENTIAL - ATTORNEYS' EYES ONLY                       TROJAN EV000205
